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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101 JEK
   AMERICA,
                                       DEFENDANT’S “OPPOSITION
          Plaintiff,                   TO UNITED STATE'S MOTION
                                       TO CONTINUE HEARING
         v.                            AND DEADLINE TO
                                       RESPOND TO DEFENDANT'S
                                       MOTION FOR SUPPRESSION
   ANTHONY T. WILLIAMS,                OF EVIDENCE;”
                                       DECLARATION OF COUNSEL;
          Defendant.                   EXHIBIT “A;” CERTIFICATE
                                       OF SERVICE


    DEFENDANT’S “OPPOSITION TO UNITED STATE'S MOTION
    TO CONTINUE HEARING AND DEADLINE TO RESPOND TO
    DEFENDANT'S MOTION FOR SUPPRESSION OF EVIDENCE”

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   provides Defendant’s “OPPOSITION TO UNITED STATE'S

   MOTION TO CONTINUE HEARING AND DEADLINE TO
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   RESPOND TO DEFENDANT'S MOTION FOR SUPPRESSION

   OF EVIDENCE,” attached as Exhibit “A,” and Declaration of

   Counsel.

      Dated: April 10, 2019



                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
